

Per Curiam

The penalty of five dollars, in the Water Vliet turnpike act, is clearly not imposed. The Cherry Valley act, by establishing the like rates of toll as in the Water Vliet act, did not thereby establish the penalties imposed in the latter act. We are also inclined to think that no penalty was imposed, even by the reference to the Mudsoji turnpikeact, but that the present is a casus omissus. There is nothing said in the Cherry Valley act about penalties, and a penalty cannot be raised by implication, but must be expressly created and imposed.
Judgment reversed,

 L. JY. Y. v. 2. p. 396.398. ‡ L. JY. F v. 2. p. 3S0.394. 395.

